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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE

AUTONOMOUS DEVICES LLC,                           )
                                                  )
               Plaintiff,                         )
                                                  )
       v.                                         )        C.A. No. 22-1466-MN
                                                  )
TESLA, INC.,                                      )
                                                  )
               Defendant.                         )


                                            ORDER

       At Wilmington this ______ day of __________________, 2023, having considered

Plaintiff’s Motion for Leave to File Sur-Reply in Opposition to Tesla, Inc’s Motion to Dismiss

for Failure to State a Claim, and all papers and argument submitted in connection therewith;

       IT IS HEREBY ORDERED that the motion is GRANTED. Autonomous may file and

serve the Sur-Reply attached as Exhibit A to its Motion.



                                                             ______________________________
                                                                 United States District Judge
